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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                              )
In re:                                                        )        Chapter 11
                                                              )
NEFF CORP., et al.,1                                          )        Case No. 10-12610 (SCC)
                                                              )
                                   Debtors.                   )        Jointly Administered
                                                              )

               BRIDGE ORDER, PENDING A HEARING ON THE
       MOTION OF THE DEBTORS FOR ENTRY OF AN ORDER EXTENDING
    THE DEBTORS’ EXCLUSIVE PERIODS TO FILE AND SOLICIT VOTES FOR A
    CHAPTER 11 PLAN PURSUANT TO SECTION 1121(d) OF THE BANKRUPTCY
     CODE, EXTENDING THE DEBTORS’ EXCLUSIVE PERIODS TO FILE AND
                 SOLICIT VOTES FOR A CHAPTER 11 PLAN

         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), for entry of an order (the “Bridge Order”) extending the

debtors’ exclusive periods to file and solicit votes for a chapter 11 plan pursuant to section

1121(d) of the Bankruptcy Code; and it appearing that this Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that this proceeding is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that venue of this proceeding and

this Motion in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that

the relief requested is in the best interests of the Debtors’ estates, their creditors, and other parties

in interest; and notice of the Motion appearing to be adequate and appropriate under the


1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Neff Holdings LLC (0571); Neff Corp. (6400); Neff Finance Corp. (3639); Neff Holdings Corp.
    (0431); Neff Rental, Inc. (0403); and Neff Rental LLC (3649). The location of the Debtors’ corporate
    headquarters and the service address for all the Debtors except Neff Holdings LLC is: 3750 N.W. 87th Ave.,
    Suite 400, Miami, Florida 33178. The service address for Neff Holdings LLC is: 375 Park Avenue, New York,
    New York 10152.

2   Capitalized terms used but not otherwise defined herein shall have the meaning ascribed in the Motion.




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circumstances; and any objections to the requested relief having been withdrawn or overruled on

the merits; and after due deliberation and sufficient cause appearing therefore, it is hereby

ORDERED that:

        1.     The Motion is granted to the extent provided herein.

        2.     Pursuant to section 1121(d) of the Bankruptcy Code, the Debtors’ Exclusive

Periods are hereby extended through and including the Court’s hearing on and the adjudication

of the Motion, currently set for September 14, 2010 at 10:00 a.m. (prevailing Eastern Time).

        3.     The entry of this Bridge Order does not prejudice the Debtors’ ability to seek

further extensions of the Exclusive Periods pursuant to section 1121(d) of the Bankruptcy Code.

        4.     The terms and conditions of this Bridge Order shall be immediately effective and

enforceable upon its entry.

        5.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Bridge Order.

New York, New York                                   /s/Shelley C. Chapman
Date: September 7, 2010                              Honorable Shelley C. Chapman




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